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                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF ARKANSAS
                                 FORT SMITH DIVISION

5 STAR EQUINE PRODUCTS
AND SUPPLIES, INC.                                                                    PLAINTIFF

v.                                    No. 2:20-CV-02070

JAYNE BROWN, et al.                                                               DEFENDANTS

                                    OPINION AND ORDER

       Plaintiff filed a motion (Doc. 12) to dismiss this case with prejudice pursuant to Federal

Rule of Civil Procedure 41(a). The motion will be granted.

       Rule 41(a)(2) gives the Court discretion to dismiss a case on Plaintiff’s motion on terms

that the Court considers proper. Plaintiff’s motion represents the parties have reached a settlement

and no issues of fact or law remain. The motion will be granted.

       IT IS THEREFORE ORDERED that the motion to dismiss (Doc. 12) is GRANTED and

this case is DISMISSED WITH PREJUDICE.

       IT IS SO ORDERED this 10th day of September, 2020.


                                                             /s/P. K. Holmes, ΙΙΙ
                                                             P.K. HOLMES, III
                                                             U.S. DISTRICT JUDGE
